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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

Inversiones Inmobiliarias De La                   §
Dulce De Pinilla Y El Mar,                        §
Sociedad De Responsabilidad                       §
Limitada,                                         §
       Plaintiff,                                 §                 CASE NO. _______________
                                                  §
vs.                                               §
                                                  §
James DiCampli,                                   §
      Defendant.                                  §


                          PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Plaintiff, Inversiones Inmobiliarias De La Dulce Vida De Pinilla y El Mar,

Sociedad De Responsabilidad Limitada (“Plaintiff”), and files this Original Complaint, and in

support of same show the following:

                                           I. PARTIES

       1.      Plaintiff Inversiones Inmobiliarias De La Dulce Vida De Pinilla y El Mar, Sociedad

De Responsabilidad Limitada is a Costa Rican entity owned entirely by Martin Bryant. Mr. Bryant

resides in Denver, Colorado.

       2.      Defendant James DiCampli is an individual who resides in Houston, Texas at 5327

Fayette Street, Houston, Texas 7056. Plaintiff requests citation at this time.

       3.      This Court has original jurisdiction over this complaint under 28 U.S.C. §1332(a)

and this Court is an appropriate venue for proceeding under 28 U.S.C. § 1391(b)(1) because Mr.

DiCampli resides in Houston, Texas.




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                                      II. BACKGROUND

       4.      On or about February 6, 2018, DiCampli executed a promissory note in favor of

Bella Alianza, LLC, a Delaware limited liability company (the “Note”). The Note was for the

principal sum of $183,500.00 with interest accruing at 5.00% per year.               The Note was

collateralized by Lot 1 within La Dulce Vida, property #5-114719-F-400 identified in cadastral

plan G-1685220-2013 located at Pinilla, Santa Cruz of Guanacaste (the “Property”). DiCampli

Holdings CR Limitada owns the Property.

       5.      The Note was set to mature on February 5, 2023. However, the Note could be

accelerated any time DiCampli missed a payment or if title to the Property was transferred. Bella

Alianza, LLC complied with the Note and loaned DiCampli $183,500.00.

       6.      On or about May 3, 2021, Bella Alianza, LLC assigned the Note to Plaintiff. In

2022, DiCampli changed the ownership structure of DiCampli Holdings CR Limitada by selling

the entity, which resulted in an event of default. Because DiCampli defaulted under the terms of

the Note, Plaintiff sent a notice of default on June 23, 2022. The notice of default garnered no

response from DiCampli.

                                   III. CAUSES OF ACTION

                                   Breach of promissory note.

       7.      Plaintiff incorporates the foregoing paragraphs as if set forth fully herein.

       8.      The Note exists and is attached as Exhibit 1. DiCampli signed and executed the

Note in favor of Bella Alianza. Bella Alianza then assigned the Note to Plaintiff. Thus, Plaintiff

is the owner and holder of the Note. DiCampli sold his interest in DiCampli Holdings CR

Limitada, which is an event of default as defined in the Note. DiCampli is in default for failing to

pay all unpaid principal and accrued interest. As of June 23, 2022, DiCampli owes $183,000 as




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principal and $40,615.83 in accrued but unpaid interest. Thus, DiCampli owes $223,615.83 in

total.

                                        V. ATTORNEYS’ FEES

         9.       Plaintiff incorporates all prior paragraphs for all purposes as if fully set forth herein.

         10.      Plaintiff is entitled to recover its reasonable and necessary attorney’s fees under

Chapter 38 of the Texas Civil Practice & Remedies Code and under the Note. Specifically, the

Note allows Plaintiff to recover “all costs and expenses of any such action to collect suit or

proceeding, and any appeal of any such action, suit or proceeding, incurred by [Plaintiff], including

but not limited to the reasonable fees and disbursements of [Plaintiff]’s attorneys and their staff.”

See Ex. 1, ¶ 6.

                                  VI. CONDITIONS PRECEDENT

         11.      All conditions precedent to Plaintiff’s right to recovery of its damages alleged

herein and to recovery of its attorneys’ fees incurred herein have been performed, occurred, or

been satisfied.

                                                 PRAYER

         WHEREFORE, PREMISES CONSIDERED, Inversiones Inmobiliarias De La Dulce Vida

De Pinilla y El Mar, Sociedad De Responsabilidad Limitada, prays that, upon final hearing of this

cause, the Court enter judgment against Defendant James DiCampli for the following: (1)

$223,615.83 in actual damages; (2) prejudgment and post-judgment interest, (3) reasonable and

necessary attorney’s fees, (4) costs of court and (5) all other relief to which Plaintiff may be justly

entitled.




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                                     Respectfully submitted,

                                     MURRAY | LOBB, PLLC

                                     By: /s/ Kyle L. Dickson
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                                     ATTORNEYS FOR PLAINTIFF
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                                     SOCIEDAD DE RESPONSABILIDAD
                                     LIMITADA




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